19-70067-tmd Doc#461 Filed 07/28/20 Entered 07/28/20 13:57:42 Main Document Pg 1 of
                                        11



                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                     MIDLAND DIVISION

                                                              )
      In re:                                                  )
                                                              )      Chapter 11
      TAJAY RESTAURANTS, INC, et al.,                         )
                                                              )      Case No. 19-70067-TMD
                                       Debtors.               )
                                                              )      (Jointly Administered)
                                                              )

         MOTION FOR ORDER DIRECTING IMMEDIATE PAYMENT OF ALLOWED
         ADMINISTRATIVE EXPENSE OF 4424 BUFFALO GAP ROAD OWNER, LLC

               4424 Buffalo Gap Road Owner, LLC (the “Landlord”), through its undersigned counsel,

  hereby moves for the entry of an order, substantially in the form of the proposed order attached

  hereto (the “Proposed Order”) directing Debtor Tajay Restaurants, Inc. (“Tajay”) to pay

  Landlord’s previously allowed administrative expense claim within seven (7) days from entry. In

  support of this motion (the “Motion”), the Landlord respectfully states as follows:

                                        JURISDICTION AND VENUE

               1.    This Court has jurisdiction over this Motion pursuant to 28 U.S.C. § 1334. This is

  a core proceeding pursuant to 28 U.S.C. § 157(b).

               2.    Venue in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

               3.    The bases for the relief sought are sections §§ 105 and 503 of title 11 of the United

  States Code (the “Bankruptcy Code”).

                                                 BACKGROUND

               4.    On April 7, 2020, the Landlord filed a motion seeking the allowance of its

  administrative expense of Tajay’s bankruptcy case [ECF No. 354] (the “Allowance Motion”).1


  1
    The Landlord did not request an order directing the immediate payment of its administrative expense at that time as
  the Court had not yet set an administrative claims bar date.
19-70067-tmd Doc#461 Filed 07/28/20 Entered 07/28/20 13:57:42 Main Document Pg 2 of
                                        11



  The Court entered an order granting in part the Allowance Motion [ECF No. 414]. after a hearing

  held June 1, 2020,

            5.     After the Allowance Motion was filed, the Debtors requested [ECF No. 362] and

  obtained [ECF No. 371] an administrative claims bar-date in these chapter 11 cases. The

  administrative claims bar date was May 29, 2020. The Landlord was the only party to seek

  allowance of an administrative expense with respect to Tajay. The Debtors have resolved all

  timely-filed requests for administrative expenses, with the exception of the administrative expense

  asserted by JLou Properties, LLC against Debtor Yummy Holdings.

            6.     According to the monthly operating reports filed by the Debtors and orders

  allowing administrative expenses, each Debtor other than Yummy Seafoods, LLC, is clearly

  administratively solvent. The following chart summarizes the cash and administrative claims

  allowed or outstanding against each of the Debtors:2

                 Debtor                 Cash on           Pending and Allowed Administrative Claims
                                        7/1/2020
      Tajay Restaurants, Inc.              $98,990 •       $25,800—Allowed [ECF Nos. 354, 414]
      Yummy Seafoods, LLC                $156,438 •        $1,000,000—Pending [ECF No. 396]
                                                  •        $10,480—Allowed [ECF Nos. 401, 446]
      Yummy Holdings, LLC                  $41,170 •       $10,915—Allowed [ECF Nos. 390, 435]
                                                   •       $3,110—Allowed [ECF Nos. 391, 436]
                                                   •       $23,005—Allowed [ECF Nos. 392, 410]

            7.     On at least eight occasions from June 11 to July 21, 2020, the Landlord, through

  counsel, contacted Tajay to determine when it anticipated paying the Landlord’s administrative

  expense. Tajay refused to respond, even to tell the Landlord that it could not provide an answer.



  2
   All secured claims in the Debtors’ chapter 11 cases were to be satisfied pursuant to the Sale Order [ECF No. 317].
  See Id. at para 22. Additionally, Harney Partners has requested the allowance of certain professional fees [ECF No.
  455] that are less than that amount of such professional’s retainer.

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19-70067-tmd Doc#461 Filed 07/28/20 Entered 07/28/20 13:57:42 Main Document Pg 3 of
                                        11



  Further, the pending administrative expense request of JLou, has been continued to September 22,

  2020. In light this, the Landlord seeks relief from the Court.

                                              RELIEF REQUESTED

           8.       The Landlord requests that the Court enter the Proposed Order, directing Tajay to

  pay the Landlord’s administrative expense allowed pursuant to the Expense Order within seven

  (7) days from entry of the order, and grant such other relief to which the Landlord may be entitled.

                                               BASIS FOR RELIEF

           9.       Although the timing of the payment of administrative expenses is within the

  discretion of the Court, compelling a immediate payment of administrative expense claims is

  appropriate prior to confirmation where there is no indication that the Debtor may be

  administratively insolvent. See In re Four Star Pizza, Inc., 135 B.R. 498, 500 (Bankr. W.D. Pa.

  1992); cf., e.g., In re Korea Chosun Daily Times, 337 B.R. 773, 785 (Bankr. E.D.N.Y. 2005)

  (holding administrative claimant entitled to immediate payment in totally solvent debtor); Omni

  Partners, L.P. v. Pudgie's Dev., Inc. (In re Pudgie's Dev., Inc.), 239 B.R. 688, 693 (S.D.N.Y. 1999)

  (stating same in dicta). Courts in this District have identified three other factors that should be

  considered in exercising this discretion: “(1) the prejudice to the Debtors, (2) hardship to the

  claimant, and (3) potential detriment to other creditors.” In re UTEX Communs. Corp., 457 B.R.

  549, 569 (Bankr. W.D. Tex. 2011).3

           10.      Tajay is administratively solvent, its assets have been liquidated, and the Landlord

  is and will be the only non-professional administrative claimant. Payment of the Landlord’s




  3
   Additional factors courts in other districts have considered include (1) the status of the case, (2) the ability of the
  debtor to pay present claims, (3) the particular needs of the administrative claimants. 4 COLLIER ON BANKRUPTCY P
  503.03 (16th 2020). The Landlord submits that these considerations are functionally incorporated in the factors listed
  by In re UTEX Communs. Corp.

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19-70067-tmd Doc#461 Filed 07/28/20 Entered 07/28/20 13:57:42 Main Document Pg 4 of
                                        11



  administrative expense will not prejudice to Tajay or any of its creditors. The only effect of further

  delay will be to prejudice the Landlord.

                                             CONCLUSION

         WHEREFORE the Landlord respectfully requests that the Court enter an order

  substantially in the form of the Proposed Order directing Tajay to pay Landlord’s previously

  allowed administrative expense claim within seven (7) days from entry.


   Dated: July 28, 2020.                          Respectfully submitted,

                                                  BARRON & NEWBURGER, P.C.

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                                                  Owner, LLC

                                                  -and-

                                                  BEHAR, GUTT & GLAZER, P.A.

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                                                  Fort Lauderdale, Florida 33004
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                                                  Facsimile: (305) 931-3774

                                                  Counsel to Counsel for 4424 Buffalo Gap
                                                  Road Owner, LLC




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19-70067-tmd Doc#461 Filed 07/28/20 Entered 07/28/20 13:57:42 Main Document Pg 5 of
                                        11



                                   CERTIFICATE OF SERVICE

           I hereby certify that on July 28, 2020, I caused a true and correct copy of this Motion to be
  served on (i) all parties registered to receive ECF notification in the above captioned case and (ii)
  by first class U.S.P.S. mail or email on the parties on attached Master Service List.


                                                                /s/R. J. Shannon
                                                                R. J. Shannon




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19-70067-tmd Doc#461 Filed 07/28/20 Entered 07/28/20 13:57:42 Main Document Pg 6 of
                                        11



                                       SERVICE LIST

  Debtors:

  Tajay Restaurants, Inc.
  3304 Essex Drive                              Yummy Seafoods, LLC
  Richardson, TX 75082                          3304 Essex Drive
                                                Richardson, TX 75082
  Yummy Holdings, LLC
  3304 Essex Drive
  Richardson, TX 75082

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  Clark Hill Strausburger
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  Austin, Texas 78701
  sroberts@clarkhill.com

  United States Trustee:

  United States Trustee
  James Rose
  james.rose@usdoj.gov

  20 Largest Unsecured Creditors – Tajay:

  DTMJ-1, LLC                                   J & C Property Co.
  Attn: David & Tara Montgomery                 13505 Montfort Place, Suite 200
  5134 Wright Terrace                           Dallas, TX 75240
  Skokie, IL 60077
                                                Boykin Enterprises
  Janda Land Holdings, LLC                      283 North Willis, Suite 1
  c/o Charles Greenough                         Abilene, TX 79603
  McAfee & Taft
  Two W. Second Street, Ste 1100                Department of Finance & Adm.
  Tulsa, OK 74103                               PO Box 3861
                                                Little Rock, AR 72203



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19-70067-tmd Doc#461 Filed 07/28/20 Entered 07/28/20 13:57:42 Main Document Pg 7 of
                                        11



  McLane Food Service, Inc.                         Center Point Energy
  PO Box 115055                                     PO Box 4981
  Carrollton, TX 75011                              Houston, TX 77210-4981
  OG&E Electric Services
  PO Box 24990                                      Orkin, Inc.
  Oklahoma City, OK 73124-0990                      PO Box 638898
                                                    Cincinnati, OH 45263-8898
  Comptroller of Public Accounts
  PO Box 149348                                     Green Life Landscaping and General Services
  Austin, TX 78714-9348                             PO Box 4019
                                                    Wichita Falls, TX 76308
  4424 Buffalo Gap Road Owner, LLC
  Norman Steele                                     AEP
  6000 Island Blvd., Apt. 2108                      PO Box 371496
  Aventura, FL 33160                                Pittsburgh, PA 15250-7496

  Jan McCormick                                     Oklahoma Tax Commission
  3304 Fox Hollow Rd.                               PO Box 26930
  Duncan, OK 73533                                  Oklahoma City, OK 73126-0930

  Central Appraisal District of Taylor County       Sebastian Arizpe
  PO Box 1800                                       1611 West Kentucky
  Abilene, TX 79604                                 Midland, TX 79701

  Interface Security Systems LLC                    The Wasserstrom Company
  8339 Solutions Center                             PO Box 182056
  Chicago, IL 60677                                 Columbus, OH 43218-2056

  Nuco2 Inc.                                        MasterScapes, Inc.
  PO Box 417902                                     330 Bacacita Farms Rd.
  Boston, MA 02241-7902                             Abilene, TX 79602


  20 Largest Unsecured Creditors—YS:

  Long John Silver’s Inc. YRSG                      Mittal & Sons, LLC
  PO Box 950111                                     123 Blue Hill Rd.
  Louisville, KY 40295                              San Antonio, TX 78229

  Economy Square, Inc.                              Joseph Beylouni
  210 Park Ave., Suite 2175                         9174 Rebecca Avenue
  Oklahoma City, OK 73102                           San Diego, CA 92123

  McLane Food Service, Inc.                         Hot Schedules
  2085 Midway Rd.                                   Attn: Tina Harve
  Carrollton, TX 75006-5063                         3440 Preston Ridge Road, Suite 650
                                                    Alpharetta, GA 30005
  Burris Valley Ranch, Inc.
  7300 N. Comanche                                  John C. Mills
  Oklahoma City, OK 73132                           3122 Madison Ct.
                                                    Stillwater, OK 74074


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19-70067-tmd Doc#461 Filed 07/28/20 Entered 07/28/20 13:57:42 Main Document Pg 8 of
                                        11



                                             Janda Land Holdings, LLC
  Oklahoma State Dept. of Health             c/o Charles Greenough
  PO Box 268815                              McAfee & Taft
  Oklahoma City, OK 73126-8815               Two W. Second Street, Ste 1100
                                             Tulsa, OK 74103
  City of Stillwater Utility Service
  PO Box 1449                                August, August and Lane of Rochester LLC
  Stillwater, OK 74076-1449                  72 Canfield Rd.
                                             Pittsford, NY 14534
  OG&E
  PO Box 24990                               Seven Cousins of Rochester LLC
  Oklahoma City, OK 73124-0990               c/o Andrew August
                                             Park Avenue Bike Shop
  Janda Land Holdings, LLC                   72 Canfield Rd.
  c/o Charles Greenough                      Pittsford, NY 14534
  McAfee & Taft
  Two W. Second Street, Ste 1100             Billie M. Mills
  Tulsa, OK 74103                            3009 Arapaho Road
                                             Commerce, TX 75428
  HBIC LLC
  1940 E. Walnut Street                      Bowker Land Development, LLC
  Pasadena, CA 91107                         2415 N. 14th St.
                                             Ponca City, OK 74601
  NADG NNN LJS-A W OK LP
  3131 McKinney Ave. Ste L-10                City of Lubbock
  Dallas, TX 75204                           PO Box 2000
                                             Lubbock ,TX 79457

  20 Largest Unsecured Creditors—YH:

  DTMJ-1, LLC                                STE Ventures, LLC
  Attn: David & Tara Montgomery              Attn: Steven T. Tsang
  5134 Wright Terrace                        20028 SE 3rd Circle
  Skokie, IL 60077                           Camas, WA 98607

  Dennis Semler Tulsa City Trs               AA&L II LLC
  500 S. Denver Ave.                         72 Canfield Rd.
  3rd Floor                                  Pittsford, NY 14534
  Tulsa, OK 74103-3840
                                             Wolter Properties, LLC
  Lane Dworkin Properties, LLC               1553 Summit Shores Vista
  415 Park Avenue                            Bursville, MN 55306
  Rochester, NY 14607
                                             Muskogee County Treasurer
  Real Estate Acquisitions                   Kelly M. Garret
  KJE LLC                                    PO Box 1587
  2192 Windemere CT                          Muskogee, OK 74402
  Morgan Hill, CA 95037-9375
                                             A Cut Above
                                             PO Box 1417
                                             Sand Springs, OK 74063


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19-70067-tmd Doc#461 Filed 07/28/20 Entered 07/28/20 13:57:42 Main Document Pg 9 of
                                        11



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  NuCo2                                              2085 Midway Road
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  Boston, MA 02241-7902
                                                     Mullin Plumbing, Inc.
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                                                 4
19-70067-tmd Doc#461 Filed 07/28/20 Entered 07/28/20 13:57:42 Main Document Pg 10
                                      of 11



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                                           5
19-70067-tmd Doc#461 Filed 07/28/20 Entered 07/28/20 13:57:42 Main Document Pg 11
                                      of 11



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